                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT WINCHESTER

 UNITED STATES OF AMERICA                           )
                                                    )       Case No. 4:09-cr-44
 vs.                                                )
                                                    )       JUDGE MATTICE
 MARK WIMBLEY                                       )



                               MEMORANDUM AND ORDER

        MARK WIMBLEY (“Supervised Releasee”) appeared for an initial appearance before
 the undersigned on February 11, 2015, in accordance with Rule 32.1 of the Federal Rules of
 Criminal Procedure on the Petition for Warrant for Offender Under Supervision (“Petition”).
 Those present for the hearing included:

               (1) An Assistant United States Attorney for the Government.
               (2) The Supervised Releasee.
               (3) Attorney Myrlene Marsa for defendant.

        After being sworn in due form of law, the Supervised Releasee was informed or
 reminded of his privilege against self-incrimination accorded him under the 5th Amendment to
 the United States Constitution.

         It was determined the Supervised Releasee wished to be represented by an attorney and
 he qualified for the appointment of an attorney to represent him at government expense.
 Federal Defender Services of Eastern Tennessee, Inc. was APPOINTED to represent the
 defendant. It was determined the Supervised Releasee had been provided with a copy of the
 Petition and the Warrant for Arrest and had the opportunity of reviewing those documents with
 his attorney. It was also determined he was capable of being able to read and understand the
 copy of the aforesaid documents he had been provided

        The Supervised Releasee waived his right to a preliminary hearing and detention hearing.

         The Government moved defendant be detained pending a hearing to determine whether
 his term of supervision should be revoked.




                                               1



Case 4:09-cr-00044-HSM-SKL         Document 146         Filed 02/11/15    Page 1 of 2     PageID
                                         #: 368
                                          Findings

       (1) Based upon the Petition and Supervised Releasee=s waiver of preliminary
       hearing and detention hearing, the undersigned finds there is probable cause to
       believe the Supervised Releasee has committed violations of his conditions of
       supervised release as alleged in the petition.

                                         Conclusions

       It is ORDERED:

       (1) The Supervised Releasee shall appear in a revocation hearing before U.S.
       District Judge Harry S. Mattice, Jr.

       (2) The motion of the Government that Supervised Releasee be DETAINED
       WITHOUT BAIL pending his revocation hearing before Judge Mattice is
       GRANTED.

       (3) The U.S. Marshal shall transport Supervised Releasee to a revocation hearing
       before Judge Mattice on Monday, March 23, 2015, at 2:00 pm.

       ENTER.

                                           SBj|ÄÄ|tÅ UA `|àv{xÄÄ VtÜàxÜ
                                           UNITED STATES MAGISTRATE JUDGE




                                              2



Case 4:09-cr-00044-HSM-SKL        Document 146         Filed 02/11/15   Page 2 of 2       PageID
                                        #: 369
